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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

PATRICIA KENNEDY, Individually,           :
                                          :
            Plaintiffs,                   :
                                          :
v.                                        :              Case No.
                                          :
LOTUS HOTELS INC, A Wisconsin Corporation,:
                                          :
            Defendant.                    :
_______________________________________/ :
                                          :
                                          :
                                          :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

LOTUS HOTELS INC, A Wisconsin Corporation, (sometimes referred to as “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies as an

               individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

               the major life activity of walking more than a few steps without assistive devices.

               Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

               and has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

               wrist to operate. Plaintiff is also vision impaired. When ambulating beyond the

               comfort of her own home, Plaintiff must primarily rely on a wheelchair. Plaintiff

               requires accessible handicap parking spaces located closet to the entrances of a
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          facility. The handicap and access aisles must be of sufficient width so that she can

          embark and disembark from a ramp into her vehicle. Routes connecting the handicap

          spaces and all features, goods and services of a facility must be level, properly

          sloped, sufficiently wide and without cracks, holes or other hazards that can pose a

          danger of tipping, catching wheels or falling. These areas must be free of obstructions

          or unsecured carpeting that make passage either more difficult or impossible.

          Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

          difficulty operating door knobs, sink faucets, or other operating mechanisms that

          tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

          unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

          be at the proper height so that she can put her legs underneath to wash her hands. She

          requires grab bars both behind and beside a commode so that she can safely transfer

          and she has difficulty reaching the flush control if it is on the wrong side. She has

          difficulty getting through doorways if they lack the proper clearance.

2.        Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

          "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

          determining whether places of public accommodation and their websites are in

          compliance with the ADA.

3.        Defendant owns and/or operates a place of public accommodation as defined by the

          ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

          place of public accommodation that the Defendant owns is a place of lodging known




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          as Quality Inn Madison West Near University Area, 6900 Seybold Road Madison,

          WI 53719, and is located in the County of Dane, (hereinafter "Property").

4.        Venue is properly located in the WESTERN DISTRICT OF WISCONSIN because

          the Defendant's hotel is located in this district.

5.        Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

          original jurisdiction over actions which arise from the Defendant’s violations of Title

          III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

          U.S.C. § 2201 and § 2202.

                           Count I - Violation Of The ADA

6.        Plaintiff realleges paragraphs 1-5 as if set forth fully hereunder.

7.        As the owner of the subject place of lodging, Defendant is required to comply with

          the ADA. As such, Defendant is required to ensure that it's place of lodging is in

          compliance with the standards applicable to places of public accommodation, as set

          forth in the regulations promulgated by the Department Of Justice. Said regulations

          are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

          Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

          by reference into the ADA. These regulations impose requirements pertaining to

          places of public accommodation, including places of lodging, to ensure that they are

          accessible to disabled individuals.

8.        More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

          requirement:




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           Reservations made by places of lodging. A public accommodation that owns,
           leases (or leases to), or operates a place of lodging shall, with respect to
           reservations made by any means, including by telephone, in-person, or through a
           third party -
                   (i) Modify its policies, practices, or procedures to ensure that individuals
                   with disabilities can make reservations for accessible guest rooms during
                   the same hours and in the same manner as individuals who do not need
                   accessible rooms;
                   (ii) Identify and describe accessible features in the hotels and guest rooms
                   offered through its reservations service in enough detail to reasonably
                   permit individuals with disabilities to assess independently whether a
                   given hotel or guest room meets his or her accessibility needs;
                   (iii) Ensure that accessible guest rooms are held for use by individuals
                   with disabilities until all other guest rooms of that type have been rented
                   and the accessible room requested is the only remaining room of that type;
                   (iv) Reserve, upon request, accessible guest rooms or specific types of
                   guest rooms and ensure that the guest rooms requested are blocked and
                   removed from all reservations systems; and
                   (v) Guarantee that the specific accessible guest room reserved through its
                   reservations service is held for the reserving customer, regardless of
                   whether a specific room is held in response to reservations made by others.

9.         These regulations became effective March 15, 2012.

10.        Defendant, either itself or by and through a third party, implemented, operates,

           controls and or maintains an online reservations system (hereinafter "ORS") for

           the Property. The purpose of this ORS is so that members of the public may

           reserve guest accommodations and review information pertaining to the goods,

           services, features, facilities, benefits, advantages, and accommodations of the

           Property. As such, the ORS is subject to the requirements of 28 C.F.R. Section

           36.302(e).

11.        On March 3, 2020, March 4, 2020, March 12, 2020, March 15, 2020, March 20,

           2020, March 22, 2020, March 23, 2020, April 2, 2020, and April 5, 2020, prior to

           the commencement of this lawsuit, Plaintiff visited the ORS for the purpose of


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           reviewing and assessing the accessible features at the Property and ascertain

           whether it meets the requirements of 28 C.F.R. Section 36.302(e) and her

           accessibility needs. However, Plaintiff was unable to do so because Defendant

           failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

           As a result, Plaintiff was deprived the same goods, services, features, facilities,

           benefits, advantages, and accommodations of the Property available to the general

           public. Specifically, the following violations were found:

           i.     The website for the hotel located at booking.com did not identify or allow

                  for reservation of accessible guest rooms and did not provide sufficient

                  information regarding accessability at the hotel.

           ii.    The website for the hotel located at expedia.com did not identify or allow

                  for reservation of accessible guest rooms and did not provide sufficient

                  information regarding accessability at the hotel.

           iii.   The website for the hotel located at hotels.com did not identify or allow

                  for reservation of accessible guest rooms and did not provide sufficient

                  information regarding accessability at the hotel.

           iv.    The website for the hotel located at reservations.com did not identify or

                  allow for reservation of accessible guest rooms and did not provide

                  sufficient information regarding accessability at the hotel.

12.        In the near future, Plaintiff intends to revisit Defendant's ORS in order to test it for

           compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the system to




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           reserve a guest room and otherwise avail herself of the goods, services, features,

           facilities, benefits, advantages, and accommodations of the Property.

13.        Plaintiff is continuously aware that the subject ORS remains non-compliant and

           that it would be a futile gesture to revisit it as long as those violations exist unless

           she is willing to suffer additional discrimination.

14.        The violations present at Defendant's ORS infringe Plaintiff's right to travel free

           of discrimination and deprive her of the information required to make meaningful

           choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

           humiliation as the result of the discriminatory conditions present at Defendant's

           ORS. By continuing to operate the ORS with discriminatory conditions,

           Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

           Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

           and/or accommodations available to the general public. By encountering the

           discriminatory conditions at Defendant's ORS, and knowing that it would be a

           futile gesture to return to the ORS unless she is willing to endure additional

           discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

           services and benefits readily available to the general public. By maintaining a

           ORS with violations, Defendant deprives Plaintiff the equality of opportunity

           offered to the general public. Defendant's online reservations system serves as a

           gateway to its hotel. Because this online reservations system discriminates against

           Plaintiff, it is thereby more difficult to book a room at the hotel or make an

           informed decision as to whether the facilities at the hotel are accessible.


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15.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a

           result of the Defendant’s discrimination until the Defendant is compelled to

           modify its ORS to comply with the requirements of the ADA and to continually

           monitor and ensure that the subject ORS remains in compliance.

16.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination

           from the Defendant’s non-compliance with the ADA with respect to these ORS.

           Plaintiff has reasonable grounds to believe that she will continue to be subjected

           to discrimination in violation of the ADA by the Defendant.

17.        The Defendant has discriminated against the Plaintiff by denying her access to,

           and full and equal enjoyment of, the goods, services, facilities, privileges,

           advantages and/or accommodations of the subject website.

18.        The Plaintiff and all others similarly situated will continue to suffer such

           discrimination, injury and damage without the immediate relief provided by the

           ADA as requested herein.

19.        Defendant has discriminated against the Plaintiff by denying her access to full and

           equal enjoyment of the goods, services, facilities, privileges, advantages and/or

           accommodations of its place of public accommodation or commercial facility in

           violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

           Defendant continues to discriminate against the Plaintiff, and all those similarly

           situated by failing to make reasonable modifications in policies, practices or

           procedures, when such modifications are necessary to afford all offered goods,

           services, facilities, privileges, advantages or accommodations to individuals with


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             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

20.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

21.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject ORS to make them readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the ORS until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its ORS to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

             and maintain the ORS to ensure that it remains in compliance with said

             requirement.


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c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

                                   Respectfully Submitted,

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